Case 2:17-cv-02018-PKH Document 11                   Filed 10/12/17 Page 1 of 24 PageID #: 41



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                              FORT SMITH DIVISION

STANLEY H. NUZZI,                                                                     PLAINTIFF,

v.                                  CASE NO. 2:17-CV-2018

USA TRUCK, INC.,                                                                   DEFENDANT.


                      MEMORANDUM BRIEF IN SUPPORT OF
                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Plaintiff Stanley H. Nuzzi has brought two causes of action against his current employer,

Defendant USA Truck, Inc. (“USA Truck”). First, he claims that USA Truck violated the

Americans with Disabilities Act, 29 U.S.C. § 12112(a), by failing to offer him a reasonable and

effective accommodation for his alleged disability. In this motion for summary judgment, USA

Truck will argue that this failure-to-accommodate claim fails as a matter of law because: (1)

Plaintiff is not a “qualified individual with a disability” with the meaning of the ADA, and (2) he

does not have sufficient evidence from which a reasonable jury could find that USA Truck failed

to act in good faith in response to his requests for accommodation.

       Second, Plaintiff claims that USA Truck violated 29 U.S.C. § 12203(a) by taking adverse

action against him in retaliation for engaging in accommodation request and complaint activity

protected by the ADA. USA Truck will argue that Plaintiff’s retaliation claim also fails as a matter

of law, because he has no evidence he suffered an adverse employment action after engaging in

protected activity. Therefore, he cannot make a prima facie case of disability retaliation.




                                                 1
Case 2:17-cv-02018-PKH Document 11                    Filed 10/12/17 Page 2 of 24 PageID #: 42



                                                Facts

       USA Truck is a “trucking company” engaged in hauling general goods and commodities

in interstate commerce throughout the United States (Ex. 1, ¶ 3). Its headquarters and corporate

offices are located in Van Buren, Arkansas (Id.).

       On September 18, 2013, USA Truck hired Plaintiff as an over-the-road driver operating

commercial tractor-trailer combinations of the type commonly seen on the roads (Ex. 1, ¶ 5; Ex.

2, pp. 50, 57-58). At the time he was hired, and throughout his employment with USA Truck,

Plaintiff possessed a Class A Commercial Driver’s License issued by the State of Alabama, and

he was fully certified and qualified to drive tractor-trailers and commercial motor vehicles

generally (Ex. 1, ¶ 6; Ex. 2, pp. 190, 195). Plaintiff’s job duties as an over-the-road driver included

driving, completing his hours of service logbook, fueling the tractor and checking its oil and fluid

levels, and making all legally required vehicle inspections prior to operation (Ex. 2, pp. 58-60).

For the first two years of his employment (until he was transferred, for reasons discussed below,

to a ‘dedicated’ route in September 21, 2015), Plaintiff was dispatched to haul freight throughout

the lower forty-eight States in a generally unpredictable manner that was dictated by the day-to-

day needs of the company and its customers (Ex. 1, ¶ 7; Ex. 2, pp. 60-61). While doing this

nationwide driving, Plaintiff earned four days each month of ‘home time,’ which he was required

to schedule in advance so his dispatchers could work the request into the freight schedule and route

him home (Ex. 1, ¶ 8; Ex. 2, pp. 177-178). Plaintiff is compensated a fixed amount for each mile

driven under a paying load, with the exception of ‘short hauls’ of less than 150 miles, for which

he is paid a flat rate based on the distance driven, but capped at $75.00 (Ex. 1, ¶ 9; Ex. 2, pp. 58).

       In 2014, while employed by USA Truck, Plaintiff was diagnosed with mitral valve prolapse

(MVP), which he describes as “a faulty valve” in his heart (Ex. 2, pp. 88-90, 179-181). Essentially,

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Case 2:17-cv-02018-PKH Document 11                    Filed 10/12/17 Page 3 of 24 PageID #: 43



MVP “is a condition in which the two valve flaps of the mitral valve do not close smoothly or

evenly, but instead bulge (prolapse) upward into the left atrium” of the heart.1 To monitor the

status of his MVP, Plaintiff is required to submit to a multi-day testing regimen every three to four

months (Ex. 2, pp. 187-190, 239). This testing occurs in the office of Plaintiff’s heart doctor in

Dothan, Alabama, and it consists of a stress test, an ultrasound scan, a circulation test, and wearing

a Holter Monitor for several days to record his heart rhythm (Id.). Plaintiff testified his MVP is

currently only very mildly symptomatic. He believes he “occasionally” sleeps longer than usual

as a result of this condition, but these periods of extended sleep do not interfere with his ability to

drive a commercial motor vehicle (Ex. 2, pp. 183-184). Plaintiff also claims to experience

occasional, transitory bouts of “weakness” and “shortness of breath,” which he attributes to his

MVP (Ex. 2, p. 180). Finally, he claims his mitral valve “flutters” in stressful situations, such as

confrontations with his dispatchers, but if he takes Aleve, eats something, and lays down, this

resolves (Ex. 2, pp. 185-186). Plaintiff’s MVP is the only heart condition from which he suffers

(Ex. 2, p. 181).

       Plaintiff testified that, on the whole, his MVP has had virtually no impact on his activities

of daily living. It does not interfere at all with his ability to drive a commercial motor vehicle

generally, or his ability to drive a tractor-trailer combination specifically (Ex. 2, pp. 186, 192).

Both before and after he was diagnosed with MVP in 2014, Plaintiff was medically certified and

recertified to drive under U.S. Department of Transportation standards (Ex. 2, pp. 90). In fact, in

August 2017, immediately prior to his deposition, Plaintiff renewed his Commercial Driver’s



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  http://www.heart.org/HEARTORG/Conditions/More/HeartValveProblemsandDisease/Problem-Mitral-
Valve-Prolapse_UCM_450441_Article.jsp#.WcFmHIxSxhE, American Heart Association, accessed
October 5, 2017.

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Case 2:17-cv-02018-PKH Document 11                    Filed 10/12/17 Page 4 of 24 PageID #: 44



License in Alabama, and in doing so he was medically recertified to drive a commercial motor

vehicle (Ex. 2, pp. 175-177). For these recertification processes, Plaintiff’s heart doctor has given

multiple written clearances for Plaintiff to continue driving commercially (Ex. 2, pp. 200-207).

Currently, Plaintiff is fully qualified and medically certified to drive a commercial motor vehicle,

and he continues to drive for USA Truck (Ex. 1, ¶ 19; Ex. 2, pp. 82, 89-90, 195).

       Turning now to activities other than work and driving, Plaintiff testified his MVP

sometimes interferes with his ability to ride a bicycle and his ability to cut the grass because he

“can’t breathe,” and he states he cannot walk as far as he once could (Ex. 2, pp. 187, 190-191).

However, he also testified that he tries to “walk a mile, mile and a half per day,” and that he rides

a bicycle with his son when he is home in Dothan, so his limitations with respect to these activities

are slight and apparently intermittent (Id.). It is undisputed that Plaintiff’s doctors have not placed

any restriction whatsoever on his ability to do anything (Ex. 2, pp. 192-193, 225). In fact, very

much to the contrary, Plaintiff’s heart doctor has specifically instructed him to exercise and to

“keep on pushing myself as hard as I can,” and to do “as much as I can do” (Ex. 2, pp. 191, 192).

       The only other medical condition on which Plaintiff seems to base his claim to disability

is a cancer found in a polyp in his colon, which he believes occasionally makes him “weak” and

causes “bloody stools” (Ex. 2, pp. 72-74, 192-194). However, he did not testify that this condition

affects his day-to-day activities in any substantial way (Ex. 2, p. 194).

       Plaintiff’s failure-to-accommodate claim arises out of the previously-mentioned fact that

three to four times per year he is required to submit to a multi-day regimen of cardiac testing and

monitoring to determine whether his MVP has worsened. This testing requires him to be

physically present in Dothan, Alabama, for several days. In 2014, after he was first diagnosed

with MVP, Plaintiff apparently did not have any difficulty getting home to Dothan for this

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Case 2:17-cv-02018-PKH Document 11                     Filed 10/12/17 Page 5 of 24 PageID #: 45



monitoring, and did so four times (Ex. 2, pp. 179, 230-231).               However, he missed two

appointments in early 2015, one for an ultrasound and the other for a circulation test, because he

was on the road and unable to get home to Dothan (Ex. 2, pp. 227-228, 230-231). Apparently,

Plaintiff then engaged counsel, and on February 20, 2015, Plaintiff’s attorney sent USA Truck a

letter requesting reasonable accommodation for Plaintiff’s MVP under the Americans with

Disabilities Act (Ex. 2, p. 227, dep. ex. S). In that letter, Plaintiff’s attorney stated that Plaintiff

“has sent notice of his appointments to USA Truck, but the company has failed to make reasonable

accommodation to allow him to get to his appointments” (Id.). No new accommodation was

requested, however, but only for USA Truck to get Plaintiff home to Dothan in time for his

scheduled MVP monitoring appointments.

       On March 11, 2015, USA Truck’s then-Human Resources Manager Wayland Parker wrote

to Plaintiff’s attorney in response to this accommodation request letter (Ex. 1, ¶ 13, att. A; Ex. 2,

pp. 232, dep. ex. T). In his response, Mr. Parker stated that the company had not been aware of

any monitoring appointments prior to March 2015, but that

       [i]f you or Mr. Nuzzi could provide our company with a list with his appointment dates a
       couple weeks in advance of the scheduled appointment we will be able to make sure that
       he is home for scheduled appointment [sic]. I have discussed Mr. Nuzzi’s request with Mr.
       Nuzzi’s management team and they have assured me in good faith that they can have Mr.
       Nuzzi home for his appointments so long as they are given advance notice of his
       appointment. … We are happy to accommodate his request.

(Id.).2 Despite missing these monitoring appointments in early 2015, Plaintiff was able to

reschedule them, and he did not suffer any adverse medical consequences from having missed the

appointments (Ex. 2, pp. 237-238).


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  At deposition, Plaintiff did not recall having ever seen this response letter, but he did not deny
that he, or possibly his counsel to whom it was specifically addressed, may have actually received
the letter (Ex. 2, pp. 232-234).

                                                   5
Case 2:17-cv-02018-PKH Document 11                    Filed 10/12/17 Page 6 of 24 PageID #: 46



         It is not entirely clear from Plaintiff’s deposition testimony, but it appears that over the

next six months or so after this exchange of letters in early 2015, Plaintiff was able to schedule

and attend his MVP monitoring appointments without issue (Ex. 2, pp. 235-236).                But in

September 2015, he was not able to get to Dothan in time for a scheduled appointment and he

complained to his dispatchers (Id.). On September 21, 2015, in response to this latest missed

appointment, Plaintiff was moved by USA Truck from the irregular-route nationwide driving he

had been doing for the previous two years to the company’s dedicated service, in which Plaintiff

provided services dedicated to the business of a single customer of USA Truck: Georgia-Pacific

(Ex. 1, ¶ 14; Ex. 2, pp. 61-62, 81). This dedicated route has freight origin and destination points

located solely in the southeastern United States (although the specific points and routes will vary

based on Georgia-Pacific’s needs), and this remains Plaintiff’s current assignment (Ex. 1, ¶¶ 15,

16, 19; Ex. 2, pp. 61-62, 80-82). Plaintiff admits he was specifically told by USA Truck

dispatchers Tommy Dyer and Ron Rogers that he was being transferred to this dedicated route for

the purpose of making it easier to get him home to Dothan for his medical appointments (Ex. 2,

pp. 238-239). So this was a further attempt by USA Truck to accommodate Plaintiff’s medical

needs.

         At deposition Plaintiff did not complain that this transfer to the Georgia-Pacific dedicated

route resulted in less pay or less favorable working conditions, or that it was otherwise less

desirable than his previous driving assignment. In fact, he admitted that he has had more time at

home while driving this dedicated route than he did while previously driving a nationwide,

irregular-route schedule (Ex. 2, pp. 81-82). Typically, Plaintiff is now home every five to six days,

although on several occasions since March 2017 (Plaintiff states it has been “four times at the

max”), he has driven for seven or eight days before returning home (Ex. 2, pp. 74-79, 120). Also,

                                                  6
Case 2:17-cv-02018-PKH Document 11                     Filed 10/12/17 Page 7 of 24 PageID #: 47



it is undisputed that since the September 2015 transfer it has been easier for Plaintiff to get home

to Dothan for his medical appointments (Ex. 2, pp. 111-112, 238). Plaintiff remains currently

employed by USA Truck as a driver assigned to its Georgia-Pacific dedicated route (Ex. 1, ¶ 19;

Ex. 2, pp. 82, 160).

                                              Argument

        USA Truck will argue in Section I below that Plaintiff’s failure-to-accommodate claim

fails as a matter law for two reasons. First, Plaintiff has no evidence to show that he is a “qualified

individual with a disability” within the meaning of the ADA; therefore, he cannot make the prima

facie case of disability discrimination that is the necessary prerequisite to bringing a cause of action

for failure to accommodate. Second, even if Plaintiff is a qualified individual with a disability, he

does not have sufficient evidence from which a reasonable jury could find that USA Truck failed

to act in good faith in response to his requests for accommodation.

        In Section II below, USA Truck will argue that Plaintiff’s disability retaliation claim fails

as a matter of law because he has no evidence from which a reasonable jury could find that he

suffered an adverse employment action after engaging in protected activity. Because both of

Plaintiff’s causes of action fail as a matter of law, his Complaint should be dismissed with

prejudice.

                                                   I.

               Plaintiff’s failure-to-accommodate claim fails as a matter of law.

        The ADA does permit a cause of action against an employer for failing to engage in good

faith in the interactive process designed to find a reasonable accommodation for an employee

suffering from a covered disability. However, this kind of failure-to-accommodate claim is

especially difficult to push past the summary judgment stage since the plaintiff must produce

                                                   7
Case 2:17-cv-02018-PKH Document 11                     Filed 10/12/17 Page 8 of 24 PageID #: 48



evidence sufficient for a reasonable jury to find two related, but distinct, sets of elements. The

first set of elements is a prima facie case of disability discrimination, which acts as a gatekeeper

for the second set of elements, which constitutes the actual cause of action for failure to engage in

good faith in the interactive accommodation process. Schaffhauser v. UPS, Inc., 794 F.3d 899,

905 (8th Cir. 2015).

        The prima facie case of disability discrimination, which is the prerequisite to a failure-to-

accommodate claim, requires that Plaintiff produce evidence from which a reasonable jury could

find:

        1) He is “disabled” within the meaning of the ADA;

        2) He is a “qualified individual” within the meaning of the ADA; and

        3) He suffered an adverse employment decision because of his disability.

Id. If Plaintiff successfully produces evidence sufficient to satisfy this prima facie case, then he

must go on to “establish a failure to accommodate his disability.” Id. This requires him to produce

evidence sufficient to satisfy the following elements of the cause of action for failure to engage in

good faith in the interactive accommodation process:

        1) USA Truck knew about Plaintiff’s disability;

        2) Plaintiff requested accommodation or assistance for his disability;

        3) USA Truck did not make a good faith effort to assist him in seeking accommodation;

            and

        4) USA Truck could have accommodated Plaintiff but for its lack of good faith.3


3
  Again, this is not a prima facie case, but rather the elements of a cause of action, since the ultimate
issue in a failure-to-accommodate claim is not the employer’s intent but whether the employer
fulfilled its affirmative obligation to reasonably accommodate a disability (thus the traditional
McDonnell-Douglas framework for finding intent is not applicable). Peebles v. Potter, 354 F.3d

                                                   8
Case 2:17-cv-02018-PKH Document 11                    Filed 10/12/17 Page 9 of 24 PageID #: 49



Id., p. 906. USA Truck contends that this failure-to-accommodate claim fails as a matter of law

because Plaintiff cannot prove that he is disabled within the meaning of the ADA (thus he cannot

make the initial prima facie case of disability discrimination), and also because he does not have

evidence from which a reasonable jury could find that USA Truck failed to make good faith efforts

to assist him in seeking accommodation (thus he cannot satisfy the elements of the cause of action

for failure to accommodate).

A.     Plaintiff cannot make a prima facie case of disability discrimination because he is not
       disabled.

       As mentioned, Plaintiff must successfully make a prima facie case of disability

discrimination as a prerequisite to moving on to proof of his cause of action for failure to

accommodate. To prove the first element of that prima facie case, Plaintiff must produce evidence

from which a reasonable jury could find that he suffers from a disability within the meaning of the

ADA, which defines “disability” as:

       (A) a physical or mental impairment that substantially limits one or more major life

       activities of such individual;

       (B) a record of such an impairment; or

       (C) being regarded as having such an impairment (as described in paragraph (3)).

42 U.S.C. § 12102(1). “Major life activities” include “caring for oneself, performing manual tasks,

seeing, hearing, eating, sleeping, walking, standing, lifting, bending, speaking, breathing, learning,

reading, concentrating, thinking, communicating, and working.” 42 U.S.C. § 12102(2)(A). The

standard for determining whether an individual is “substantially limited” in one or more of these

major life activities was loosened somewhat by the ADA Amendments Act of 2008 (ADAAA),


761 (8th Cir. 2004).

                                                  9
Case 2:17-cv-02018-PKH Document 11                  Filed 10/12/17 Page 10 of 24 PageID #: 50



but an individual must still have some significant limitation on his or her ability to function, since

“not every impairment will constitute a disability:”

        An impairment is a disability within the meaning of this section if it substantially limits the
        ability of an individual to perform a major life activity as compared to most people in the
        general population. An impairment need not prevent, or significantly or severely restrict,
        the individual from performing a major life activity in order to be considered substantially
        limiting. Nonetheless, not every impairment will constitute a disability within the meaning
        of this section.

29 C.F.R. § 1630.2(j)(ii). Substantial limitation is an individualized inquiry, focusing on the

specific abilities and limitations of the individual in question. 29 C.F.R. § 1630.2(j)(iv).

        Plaintiff fails to meet any standard of substantial limitation since the undisputed facts show

that his MVP places almost no limitation on his ability to function. Most notably, his doctors have

placed no restriction whatsoever on his ability to work, or to do anything else (Ex. 2, p. 192). He

testified that periodic episodes of “shortness of breath” and “weakness” sent him to the doctor in

2014, at which time the MVP was discovered, but he denies any current symptoms except for

occasionally sleeping an abnormally long time and what he describes as occasional ‘fluttering’ of

his mitral valve in stressful situations (Ex. 1, pp. 180-181, 182-184). The abnormally long sleep

may or may not be attributable to his MVP – there is no evidence in the record either way – but he

testified it has no effect on his ability to drive, and it does not have an obvious effect on any other

major life activity (Ex. 2, p. 184). As for the ‘valve flutter,’ it apparently appears only under stress

– such as getting pressure from his supervisor – but it resolves with Aleve and rest, and he did not

testify it actually causes any affirmative impairment in his ability to drive or do anything else (Ex.

2, pp. 185-186). He testified that “[s]ometimes I can’t ride a bike because of [the MVP],” but this

limitation is clearly only intermittent since he testified elsewhere that he does in fact ride a bicycle

with his son when he is home in Dothan (Ex. 2, pp. 187, 190-191). Riding a bicycle is not a major


                                                  10
Case 2:17-cv-02018-PKH Document 11                  Filed 10/12/17 Page 11 of 24 PageID #: 51



life activity in any event. Pedroza v. Autozone, Inc., 536 F.Supp.2d 679, 696 (W.D. Tex.

2008)(“ability to exercise by walking, biking, and jogging cannot meet the threshold of definition

of disability for purposes of the ADA”). Plaintiff also testified that he has trouble cutting the grass

because of breathing issues and that he “can’t walk as far as I used to” (Ex. 2, pp. 190, 191).

Cutting the grass is not a major life activity; and while walking is, Plaintiff elsewhere contradicted

himself by testifying he tries to walk mile and a half a day for exercise (Ex. 2, p. 191). A person

who can walk a mile and a half at a time is not substantially limited in his ability to walk. Wood

v. Crown Redi-Mix, Inc., 339 F.3d 682 (8th Cir. 2003)(inability to walk more than a quarter mile

without resting was a “moderate” limitation, not a substantial one). And not only is Plaintiff not

particularly limited in his ability to engage in ordinary physical activities, his heart doctor has

actually encouraged him to exercise and to “keep on pushing myself as hard as I can” (Ex. 2, p.

191). Further, Plaintiff makes no claim that his condition adversely affects his ability to drive in

any way (Ex. 2, p. 186). On this undisputed evidence – directly out of Plaintiff’s mouth – it is

clear that his alleged limitation caused by his MVP (and his colon cancer) is very minor to non-

existent, and only intermittent when present.

       On this evidence of impairment, no reasonable jury could find that Plaintiff is substantially

limited in any major life activity, even under the more lenient standard mandated by the ADAAA.

There is no evidence he is limited to any extent at all in his ability to work: in fact, he testified he

works with his MVP “no problem” (Ex. 2, p. 186). And his MVP has posed no obstacle to his

continued DOT driving certification: he has been consistently certified to drive under DOT

medical standards, and his heart doctor has consistently provided medical clearances for him to

drive commercially (Ex. 2, pp. 200-207). The standard for establishing substantial limitation in

the context of a person’s ability to work is whether he is “significantly restricted in the ability to

                                                  11
Case 2:17-cv-02018-PKH Document 11                  Filed 10/12/17 Page 12 of 24 PageID #: 52



perform either a class of jobs or a broad range of jobs in various classes as compared to the average

person having comparable training, skills and abilities.” Dovenmuehler v. St. Cloud Hospital, 509

F.3d 435, 440 (8th Cir. 2007). There is no evidence Plaintiff’s MVP restricts him from performing

any jobs at all, let alone a broad range of jobs. His heart doctor has certainly not restricted him in

any way, but has instead encouraged Plaintiff to ‘push’ himself. On this evidence, no reasonable

jury could find that Plaintiff is substantially limited in his ability to work.

        The only other major life activity that appears to be implicated by Plaintiff’s deposition

testimony is his ability to breathe, which the EEOC’s regulations do specifically identify as a major

life activity. 42 U.S.C. § 12102(2)(A). But Plaintiff complains only of occasional shortness of

breath and difficulty mowing his lawn due to breathing difficulties, symptoms that might be

claimed by a significant number of non-disabled people, but which in any event do not impose a

substantial limitation on his ability to breathe. Hurst v. Falcon Air Express, Inc., 2014 WL

12689268, * 5 (W.D. Ariz. 2014)(“shortness of breath” caused by atrial fibrillation did not raise

genuine issue of fact concerning disability); Carper v. TWC Services, Inc., 820 F.Supp.2d 1339,

1352 (S.D. Fla. 2011)(“shortness of breath” and other related symptoms did not create a substantial

limitation on any major life activity); Baker v. CSX Transportation, Inc., 546 F.Supp.2d 90, 99

(W.D. Tex. 2008)(occasional “shortness of breath” with exertion, coupled with other symptoms,

did not establish a substantial limitation). There is no evidence Plaintiff is substantially limited in

his ability to breathe.

        On this evidence, no reasonable jury could find that Plaintiff is substantially limited in his

ability to work, breathe, or engage in any other major life activity. At most, he is very mildly

limited as compared to the general population. Therefore, Plaintiff cannot make an initial prima



                                                   12
Case 2:17-cv-02018-PKH Document 11                 Filed 10/12/17 Page 13 of 24 PageID #: 53



facie case of disability discrimination and fails to satisfy this necessary prerequisite to proving his

failure-to-accommodate claim, which should be dismissed as a matter of law.

B.      Even if Plaintiff can show he is disabled, he cannot show that USA Truck failed to make
        good faith efforts to accommodate him.

        Even assuming Plaintiff can show he is a qualified individual with a disability protected by

the ADA, no reasonable jury could find on the evidence presented that USA Truck failed to make

good faith efforts to accommodate him. Therefore, Plaintiff’s failure-to-accommodate claim fails

as a matter of law because he cannot prove the third element of the cause of action.

        An accommodation for a disability “need only be reasonable, not perfect,” and an employer

is not required to provide the accommodation preferred by the employee. Sharbono v. Northern

States Power Co., 218 F.Supp.3d 1004, 1016 (8th Cir. 2016). USA Truck nevertheless did provide

the accommodation requested by Plaintiff, which was to be routed home to Dothan for his

scheduled MVP monitoring appointments. Plaintiff agrees he had no difficulty getting to his

appointments in 2014, after his MVP was first diagnosed (Ex. 2, pp. 179, 230-231). At that point

he had not specifically made a request for accommodation, but USA Truck nevertheless

specifically worked with him to accommodate his need to be in Dothan for his doctor’s

appointments. However, in early 2015, Plaintiff apparently ran into some difficulty getting home

for appointments, so in February of that year he hired a lawyer to write a letter to USA Truck

specifically requesting the accommodation of permitting him to get home for his appointments

(Ex. 2, p. 227, dep. ex. S). In early March 2015, USA Truck responded in writing, stating that

“[w]e are happy to accommodate this request” and asking that Plaintiff provide his appointment

dates at least two weeks in advance – which was certainly not an unreasonable request (Ex. 1, ¶

13, att. A; Ex. 2, pp. 232, dep. ex. T).


                                                  13
Case 2:17-cv-02018-PKH Document 11                Filed 10/12/17 Page 14 of 24 PageID #: 54



       According to Plaintiff, there were several occasions when this accommodation process

broke down in 2015 while he was on the road, and as a result he did not get home when he needed

(Ex. 2, pp. 235-236). USA Truck then sought to address this problem in September 2015 by

transferring him to the Georgia-Pacific dedicated route that kept him in the southeastern United

States, nearer to Alabama (Ex. 1, ¶¶ 14-16; Ex. 2, pp. 61-62, 81). Plaintiff testified he was

expressly told by dispatchers Tommy Dyer and Ron Rogers that he was being transferred to this

dedicated route for the specific purpose of making it easier to get him home – i.e., he was told that

it was part of the continuing effort by USA Truck to accommodate his needs (Ex. 2, pp. 238-239).

This transfer was not requested by Plaintiff, so it demonstrates that USA Truck was actively

looking for ways to better accommodate his needs in light of the recent difficulties in getting him

home. Plaintiff testified this transfer did in fact make it easier for him to get home for his

appointments, and that he was at home more often and more reliably than before (Ex. 2, pp. 81-

82, 238). He made no complaint at deposition that he earned less money as a result of this transfer

(to the contrary, his rate per mile rose from 38.5¢ to 49¢), nor did he complain he has been

otherwise unhappy with this change (Ex. 1, ¶ 10). To all appearances, it suits him.

       Even so, apparently there have been several occasions, even after the transfer, when

Plaintiff has had difficulty getting home in time to meet his medical appointments. In 2016, he

had to reschedule an appointment when dispatcher Michael Byer told him he was unaware of the

appointment and there was “nothing they could do” (Ex. 2, pp. 111-112). In April 2016, Plaintiff

had to reschedule an appointment for three weeks later because he was required to haul a load to

Cincinnati (Ex. 2, pp. 148-150). However, Plaintiff testified that later, in October 2016, he had a

“positive” meeting with dispatchers Tommy Dyer and Bobby Price at the company’s corporate

office in Van Buren during which the dispatchers reiterated their goal of getting Plaintiff home

                                                 14
Case 2:17-cv-02018-PKH Document 11                    Filed 10/12/17 Page 15 of 24 PageID #: 55



when he needed (Ex. 2, pp. 117-118, 123-125). Clearly, they had been aware of recent difficulties

and sought to reassure him they would continue to do their best to get him home for scheduled

doctor’s appointments for which he gave adequate notice. Plaintiff also testified that since his

transfer to the Georgia-Pacific route in September 2015, there have been a few times – “four at the

max” – when he drove for seven or more days before getting home, which disturbs him because

he was promised home time every five to five and a half days (Ex. 2, pp. 120-121). But this is

relevant only if the extended periods on the road caused him to miss MVP monitoring

appointments, and it is not at all clear they did.4

        USA Truck does not dispute that from time to time there has been some difficulty in getting

Plaintiff home from his driving duties precisely when he needed for his MVP monitoring

appointments. But that is simply the nature of the business the parties are in. USA Truck is

contractually obligated to carry loads for Georgia-Pacific in a prompt and timely manner, and the

timing of those loads and the geographical locations of their origin and destination points is

determined by Georgia-Pacific, not by USA Truck (Ex. 1, ¶ 15; Ex. 2, pp. 80-81, 136-137).

Therefore, the situation has occasionally required – and will certainly require again – Plaintiff to

remain on the road hauling freight for more days than is typical or expected, or for longer than he

or USA Truck might prefer (Ex. 1, ¶ 15). But, again, an accommodation need only be reasonable

in the circumstances, not perfect. Sharbono, supra. The fact the accommodation offered to

Plaintiff in this case has not always worked does not mean that USA Truck has not acted in good



4
  According to Plaintiff, there was an incident in 2016 where he was told he would not get home
when he expected, but he testified he wanted to be in Dothan not for medical reasons but to be
with his son (Ex. 2, pp. 105-111). He also testified he did not get home when he wanted on another
occasion in 2016, but that also was not related to his MVP but instead to his daughter being injured
on a school bus (Ex. 2, pp. 124).

                                                  15
Case 2:17-cv-02018-PKH Document 11                 Filed 10/12/17 Page 16 of 24 PageID #: 56



faith.   To the contrary, USA Truck has continued to engage Plaintiff in the interactive

accommodation process, and the company has done what it reasonably could do in the

circumstances presented.      Also, as Plaintiff agrees, on those occasions when he did miss

appointments he was able to accommodate himself in another way by rescheduling them, and he

testified he has suffered no adverse medical repercussions as a result of this rescheduling (Ex. 2,

pp. 237-238).

         Since Plaintiff cannot produce evidence from which a reasonable jury could find that USA

Truck failed to act in good faith with respect to the accommodation of Plaintiff’s (assumed)

disability, Plaintiff cannot satisfy the third element of his cause of action for failure to

accommodate and it should be dismissed as a matter of law.

                                                 II.

                    Plaintiff’s ADA retaliation claim fails as a matter of law.

         Plaintiff also claims he was retaliated against in violation of the ADA for requesting

reasonable accommodation for his alleged disability, and for opposing what he believes to have

been a failure to accommodate him. At deposition, Plaintiff offered no direct evidence suggesting

that any employee of USA Truck harbored an intent to retaliate against him, so he must prove his

retaliation claim circumstantially, through the use of the usual McDonnell-Douglas burden-

shifting analysis. Oehmke v. Medtronic, Inc., 844 F.3d 748, 758 (8th Cir. 2016). To show he has

a viable claim of disability retaliation, Plaintiff must initially produce evidence sufficient to make

the following prima facie case:

         1) He engaged in statutorily protected activity;

         2) He suffered a materially adverse employment action; and

         3) There was a causal causation between his protected activity and the adverse action.

                                                 16
Case 2:17-cv-02018-PKH Document 11                Filed 10/12/17 Page 17 of 24 PageID #: 57



Id. To satisfy the third element of this prima facie case, Plaintiff must produce evidence sufficient

to show a ‘but for’ causal connection between his assertion of rights and the adverse action. Univ.

of Texas Southwestern Medical Center v. Nassar, 133 S.Ct. 2517 (2013). If he succeeds in making

this prima facie case, then the burden of production shifts to USA Truck to produce evidence of a

non-retaliatory motive for its actions, which Plaintiff must rebut with additional evidence from

which a reasonable jury could find retaliatory intent. However, USA Truck contends that the

burden of production never shifts from Plaintiff because he cannot produce evidence sufficient to

show that he suffered an adverse employment action after he engaged in protected activity.

A.     Plaintiff’s only protected activity was filing his EEOC charge against USA Truck.

       Plaintiff initially filed his EEOC charge against USA Truck with the Alabama office of the

EEOC on or about December 24, 2015 (Ex. 2, pp. 244-246, dep. ex. U). That office then forwarded

Plaintiff’s charge to the Little Rock Area Office of the EEOC, which received it on January 4,

2016 (Id.). Notice of Plaintiff’s EEOC Charge was then received by USA Truck by mail sometime

after March 10, 2017 (which was the signing date stated on the “Notice of Charge of

Discrimination” that USA Truck received in the mail from the Little Rock Area Office) (Ex. 1, ¶

21; Ex. 2, pp. 245-247). USA Truck was not aware of Plaintiff’s charge prior to receiving the

Notice of Charge of Discrimination in the mail (Ex. 1, ¶ 21).

       USA Truck does not dispute that when Plaintiff filed his EEOC charge, he engaged in

protected activity under the so-called “participation clause” of 42 U.S.C. § 12203(a), which

protects an employee from retaliation “because such individual made a charge, testified, assisted,

or participated in any manner in an investigation, proceeding, or hearing under this chapter.” So

any putative adverse action taken against Plaintiff after March 11, 2016 (the earliest date USA



                                                 17
Case 2:17-cv-02018-PKH Document 11                Filed 10/12/17 Page 18 of 24 PageID #: 58



Truck could have become aware Plaintiff’s EEOC charge) could theoretically constitute actionable

retaliation for the act of filing that charge.

        However, the story is quite different for actions and events that occurred prior to March

11, 2016, when USA Truck was not aware of the charge and Plaintiff was simply requesting

accommodation and making complaints directly to the company. That conduct is governed by the

so-called “opposition clause” of 42 U.S.C. § 12203(a), which protects an employee from retaliation

“because such individual has opposed any act or practice made unlawful by this chapter.” To

successfully proceed under the opposition clause, Plaintiff must show that he had “a good faith,

objectively reasonable belief that his activity [was] protected by statute” when he complained to

USA Truck about its alleged violation of the ADA. Heyne v. HGI-Lakeside, Inc., 589 F.Supp.2d

1119, 1126 (S.D. Iowa 2008)(citing Wallace v. DTG Operations, Inc., 442 F.3d 1112, 1118 (8th

Cir. 2006)); also, Foster v. Time Warner Entertainment, Co., 250 F.3d 1189, 1194 (8th Cir.

2001)(an employee engages in protected activity when expressing opposition “based on a

reasonable belief that the employer has engaged in discriminatory conduct,” citing EEOC v. HBE

Corp., 135 F.3d 543, 554 (8th Cir. 1998)). That is to say, Plaintiff must “demonstrate that he had

an objectively reasonable belief that his requests to receive accommodation … were statutorily

protected activity.” Heyne, supra, p. 1127. Since the ADA requires an employer to provide a

reasonable accommodation only to a qualified individual with a disability, it follows that Plaintiff

must show he had an objectively reasonable belief he was such a disabled person when he

requested accommodation and when he complained to USA Truck about the alleged lack or

insufficiencies thereof. 42 U.S.C. § 12112(a).

        For example, in Heyne, supra, the plaintiff failed to make this showing as a matter of law.

Heyne, a casino dealer, suffered from chronic back pain from an automobile accident. The pain

                                                 18
Case 2:17-cv-02018-PKH Document 11                  Filed 10/12/17 Page 19 of 24 PageID #: 59



was exacerbated by prolonged standing, although he was able to stand for up to five hours at a

time. After a change in casino ownership, he was required by the new management to stand for

an entire eight-hour shift. He produced a note from his doctor stating he needed to be permitted

to sit for one hour after standing for two. The casino was unwilling to provide this accommodation,

however, and Heyne was placed on leave until he could find a standing position he could perform.

In addition to claiming disability discrimination, Heyne also brought a retaliation claim, alleging

that his request to the casino for accommodation was protected activity. But the district court held

that Heyne could not prove an objectively reasonable belief in statutorily protected activity because

he could not reasonably believe he was a qualified individual with a disability. He was restricted

by his doctor to two hours of standing, but he nevertheless engaged in “a variety of physically

strenuous tasks which included kitchen remodels, bathroom remodels, siding, windows,

drywalling, painting, and electrical work,” and “even his own attending physician does not believe

Heyne is disabled.” Id., p. 1127. The district court held that since Heyne could not have

reasonably believed he had a protected disability, he could not prove the first element of his prima

facie case of retaliation so that claim failed as a matter of law.

        Similarly, in this case Plaintiff could not have had an objectively reasonable belief that he

has a protected disability because – as argued in Section I(A) above – no reasonable jury could

find that he is disabled by his MVP and/or his colon cancer within the meaning of the ADA. And

– crucially for Plaintiff’s retaliation claim – the issue is not even close, since he is only very mildly

impaired, and even then intermittently, so he could not have entertained an objectively reasonable

belief of disability. That being that case, Plaintiff’s requests for accommodation, together with his

complaints about the efficacy of the accommodation offered, did not constitute protected

opposition activity under 42 U.S.C. § 12203(a). Therefore, as a matter of law Plaintiff cannot base

                                                   19
Case 2:17-cv-02018-PKH Document 11               Filed 10/12/17 Page 20 of 24 PageID #: 60



a claim for retaliation on his requests for accommodation, or on his complaints made directly to

USA Truck, or on anything else he did prior to filing his EEOC charge. This finding has the effect

of limiting the universe of possible retaliatory actions to those actions that occurred after March

11, 2016 (the earliest possible date on which USA Truck could have become aware of Plaintiff’s

EEOC charge).

B.     Plaintiff cannot show he suffered an adverse employment action after March 11, 2016.

       To be adverse for the purpose of a retaliation claim, an employment action must have

effected a material change in the plaintiff’s terms and conditions of employment, such as

“termination, reduction in pay or benefits, and changes to employment that significantly affect an

employee’s future career prospects[.]” Kelleher v. Wal-Mart Stores, Inc., 817 F.3d 624, 633 (8th

Cir. 2016)(quoting Spears v. Mo. Dept. of Corr. & Human Res., 210 F.3d 850, 853 (8th Cir. 2000)).

“[M]inor changes in working conditions that merely inconvenience an employee or alter an

employee’s work responsibilities” will not serve as an adverse employment action for this purpose,

nor will intermediate disciplinary action that resulted in no tangible, material consequence. Id.;

also, Watson v. Heartland Health Laboratories, Inc., 790 F.3d 856, 864 (8th Cir. 2015); Warr v.

Hagel, 14 F.Supp.3d 1244, 1252 (E.D. Mo. 2014).

       There is no evidence showing that Plaintiff suffered any adverse employment action after

March 11, 2016. His pay rate per mile was increased to 49¢ when he was transferred to the

Georgia-Pacific dedicated route in September 2015, and that remains his current rate and his

current assignment (Ex. 1, ¶¶ 10, 19). Further, in 2016 (after filing his charge) Plaintiff earned

approximately 22% more money driving for USA Truck than he did prior to his charge in 2015,

earning $51,270.45 in 2016, as compared to $42,039.43 in 2015 (Ex. 1, ¶¶ 10, 19). And he is

currently on track to earn somewhere in the neighborhood of $50,000.00 again in 2017 (Ex. 1, ¶

                                                20
Case 2:17-cv-02018-PKH Document 11                Filed 10/12/17 Page 21 of 24 PageID #: 61



12). So not only has Plaintiff not suffered a materially adverse employment action since March

11, 2016, but he actually fared better in 2016 and 2017, and while working in the same dedicated

driving assignment.

       Nevertheless, at deposition Plaintiff claimed to have suffered five adverse actions in 2016

that he believes support his retaliation claim. First, he testified that in January 2016 he missed an

MVP monitoring appointment because he was on the road, which required him to reschedule the

appointment for “[a]bout a month later” (Ex. 2, pp. 151-152). He does not, however, recall the

specific details of this incident (Id.). Missing a doctor’s appointment and having to reschedule it

is not an adverse employment action, especially since Plaintiff specifically testified he suffered no

adverse medical consequences from having to reschedule the missed appointment (Ex. 2, pp. 237-

238). He did testify that he was charged a $400 fee for a missed appointment by his heartless heart

doctor, but that was not a decision made by USA Truck and it cannot be imputed to the company

(Ex. 2, pp. 156-57). Requiring Plaintiff to do his job, and in the process occasionally keeping him

on the road longer than he expects or desires, is not an adverse employment action.

       Second, on August 15, 2017, Plaintiff was given a “Written Reprimand – Final” for

refusing to accept a load and hanging up on dispatcher Bobby Price (Ex. 1, ¶ 20, att. C; Ex. 2, pp.

127-129, 152, dep. ex. A). However, Plaintiff suffered no material or tangible loss as a result of

this disciplinary warning: he suffered no loss of pay or benefits, he was not transferred to a less

favorable shift or route, and he remains employed by USA Truck on the same terms and conditions

as before (Ex. 1, ¶ 20). Therefore, this was the type of intermediate disciplinary action without

tangible consequence that is not an actionable adverse employment action. Thomas v. Corwin,

483 F.3d 516, 528 (8th Cir. 2007)(disciplinary memoranda was not adverse employment action

where the plaintiff’s terms and conditions of employment did not change); Baucom v. Holiday

                                                 21
Case 2:17-cv-02018-PKH Document 11                 Filed 10/12/17 Page 22 of 24 PageID #: 62



Companies, 428 F.3d 764, 768 (8th Cir. 2005)(plaintiff’s “many disciplinary warnings” were not

adverse employment actions where the terms and conditions of his employment were not changed

on the basis of them). Also, Plaintiff testified he has received no other formal disciplinary action

from USA Truck (Ex. 2, pp. 151-152).

       Third, Plaintiff testified that in 2016 dispatcher Bobby Price called him on the road to

inform him that Price would not be able to get Plaintiff home to be with his son when he wanted

(Ex. 2, pp. 105-106).      When dispatcher Tommy Dyer called Plaintiff shortly after that

conversation, the two of them got into an argument and Plaintiff hung up on Dyer (which was the

motivation for the formal disciplinary action discussed above) (Ex. 2, pp. 106-111). Plaintiff also

testified that Price and Dyer were sometimes unpleasant with him on the telephone (Ex. 2, pp.

143). These were ordinary workplace disagreements and interpersonal friction, however; not the

kind of materially adverse employment action that will support a retaliation claim.

       Fourth, Plaintiff complains that beginning in October 2016 (more than a year after he was

assigned to the Georgia-Pacific dedicated route) he occasionally drove for seven or more days

before getting back home, rather than the five to six days he believed he was promised (Ex. 2, pp.

74-75, 119-120). However, he testified this only occurred “two or three times, maybe four at the

max” in the two years he has been assigned to the Georgia-Pacific route (Ex. 2, p. 120). He did

not testify that being on the road for longer than five to six days resulted in anything more tangible

than his own disgruntlement and inconvenience. He certainly suffered no reduction in pay since

he was driving and earning compensation by the mile during that additional time on the road. This,

also, was not a materially adverse employment action.

       Finally, Plaintiff complains that when he drove a certain route between Darlington, South

Carolina, and a Georgia-Pacific facility near Charlotte, North Carolina, he received only “fifty

                                                 22
Case 2:17-cv-02018-PKH Document 11                 Filed 10/12/17 Page 23 of 24 PageID #: 63



dollars” in driving pay when the route is more 200 miles (Ex. 2, pp. 152-155, 242-243, 246-247).

This issue is a case in which Plaintiff simply does not have his facts right. In early 2017, Plaintiff

did haul a load for Coyote Logistics between Darlington, South Carolina, and Mount Gilead, North

Carolina (east of Charlotte), for which he was paid $48.51 (Ex. 1, ¶¶ 17-18). This was not a

Georgia-Pacific load, but a load brokered for an unknown third-party shipper by freight broker

Coyote Logistics (Id.). USA Truck accepted this brokered load in order to fill Plaintiff’s trailer

with paying freight on what would have otherwise been an empty-trailer run from Darlington to a

Georgia-Pacific facility in Charlotte (where Plaintiff was scheduled to pick up a load) (Id.) For

this brokered run from Darlington to Mount Gilead, Plaintiff was credited for pay purposes with

driving 99 miles, which – at his rate of 49¢ per mile – yielded a total route pay of $48.51, just

about the fifty dollars about which he complains5 (Ex. 1, ¶¶ 17-18, att. B). So Plaintiff is right that

he was paid roughly fifty dollars for this run, but wrong about the actual distance driven. This was

not an adverse employment action against him, but rather his normal and correct pay.

       None of these allegations offered by Plaintiff constitute an adverse employment action

against him. Therefore, his claim for disability retaliation fails as a matter of law because he

suffered no adverse employment action after the key date of March 11, 2016.




5
 Ninety-nine miles is actually a generous mileage allowance, since the driving directions given by
Mapquest.com show a distance of 71.9 miles between Darlington, SC, and Mount Gilead, NC.
https://www.mapquest.com/directions/from/us/sc/darlington/to/us/nc/mount-gilead,          accessed
October 5, 2017.

                                                  23
Case 2:17-cv-02018-PKH Document 11                Filed 10/12/17 Page 24 of 24 PageID #: 64



                                            Conclusion

       Plaintiff’s Complaint should be dismissed in its entirety because he is not disabled within

the meaning of the ADA; because he cannot prove that USA Truck failed to engage in good faith

in the interactive accommodation process; and because he cannot show that he suffered an

actionable adverse employment action at any time after he engaged in protected activity.


                                                        U SA TRUCK, INC., Defendant

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                                                        By: /s/Joseph F. Gilker
                                                                Joseph F. Gilker



                                  CERTIFICATE OF SERVICE

       I, Joseph F. Gilker, hereby certify that I have served a true and correct copy of the foregoing

BRIEF IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT by filing

same with the Court using the CM/ECF system, which will serve electronic notice of filing on the

following individual, this 12th day of October, 2017.

Patrick L. Doman
LAW OFFICE OF PATRICK L. DOMAN
285 S. Foster Street
Dothan, Alabama 36301

                                                        /s/Joseph F. Gilker
                                                        Joseph F. Gilker



                                                 24
